       Case 1:15-cr-00147-SPW Document 75 Filed 11/09/16 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT
                                                                            FILED
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                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION                                . · uso·1strict c
                                                                       Clerk
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UNITED STATES OF AMERICA,                      CR 15-147-BLG-SPW-1

                    Plaintiff,
                                           ORDER SETTING
        vs.                                SENTENCING

CHARITY LEIGH MENDONSA aka
Charity Leigh Ramero,, GARY LEE
QUIGG and DUSTY WHITEHOUSE,

                    Defendants.

      Defendant, Charity Leigh Mendonsa, entered her plea of guilty before U.S.

Magistrate Judge Carolyn S. Ostby in open court on October 25, 2016. United

States Magistrate Judge Carolyn Ostby entered Findings and Recommendation in

this matter on October 25, 2016 (Doc. 74). No objections having been filed within

fourteen days thereof,

      IT IS HEREBY ORDERED the Judge Ostby' s Findings and

Recommendations (Doc. 74) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.      Sentencing for Defendant, Charity Leigh Mendonsa is set for

Wednesday, February 15, 2017 at 10:30 a.m., in the James F. Battin Courthouse,

2601 Second Avenue North, Billings, Montana.
         Case 1:15-cr-00147-SPW Document 75 Filed 11/09/16 Page 2 of 3



        2.   The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).

        3.   The probation officer shall disclose the completed report, except for

recommendations of the probation officer, to Defendant, counsel for Defendant,

and counsel for the government on or before December 27, 2016. The probation

officer shall not disclose any recommendation made or to be made to the Court.

        4.   If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

        5.   Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before January 10,

2017. U.S.S.G. § 6Al .2. Any unresolved objections are expected to be

included in the pre-sentence report, not in a sentencing memorandum.

        6.   The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before January 24,

2017.

        7.   Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before January 31, 2017. Absent


                                          2
        Case 1:15-cr-00147-SPW Document 75 Filed 11/09/16 Page 3 of 3



good cause shown, sentencing memoranda and supporting documents filed after

January 31, 2017 will not be considered in addressing sentencing issues. Failure to

timely file sentencing memoranda may result in imposition of sanctions against

counsel.

       8.     Responses to sentencing memoranda shall be filed on or before

February 7, 2017.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

       10.    The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

       11.    All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

       12.    Defendant is released under the same terms and conditions pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.

      DATED this      ~fNovem~
                                       ~e-tJ~
                                        SUSANP. WATTERS
                                        United States District Judge




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